           Case:19-17633-KHT Doc#:1 Filed:09/04/19                                        Entered:09/04/19 00:13:46 Page1 of 7

 Fill in this information to identify the case:

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH
                                     Colorado
 BBBBBBBBBBBBBBBBBBBB'LVWULFWRIBBBBBBBBBBBBBBBBB
                                       6WDWH 
                                                             11
 &DVHQXPEHU If known  BBBBBBBBBBBBBBBBBBBBBBBBB&KDSWHUBBBBB                                                                      &KHFNLIWKLVLVDQ
                                                                                                                                            DPHQGHGILOLQJ




2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/1

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                           PetroShare Corp.
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




2.   All other names debtor used            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     in the last 8 years                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     ,QFOXGHDQ\DVVXPHGQDPHV
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     WUDGHQDPHVDQG doing business
     as QDPHV                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




3.   Debtor’s federal Employer               4 6            1 4 5 4 5 2 3
                                            BBBBBB±BBBBBBBBBBBBBBBBBBBBB
     Identification Number (,1



4.   Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business

                                             9635       Maroon Circle
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            1XPEHU    6WUHHW                                          1XPEHU    6WUHHW

                                             Suite 400
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                        32%R[

                                             Englewood                  CO       80112
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            &LW\                       6WDWH   =,3&RGH             &LW\                     6WDWH     =,3&RGH

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                             Arapahoe
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            &RXQW\                                                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                        1XPEHU    6WUHHW

                                                                                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                        &LW\                     6WDWH     =,3&RGH




5.   Debtor’s website 85/                   www.petrosharecorp.com
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


6.   Type of debtor                          &RUSRUDWLRQ LQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\ //& DQG/LPLWHG/LDELOLW\3DUWQHUVKLS //3
                                             3DUWQHUVKLS H[FOXGLQJ//3
                                             2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP                                9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                            SDJH
            Case:19-17633-KHT Doc#:1 Filed:09/04/19                                 Entered:09/04/19 00:13:46 Page2 of 7

'HEWRU
                 PetroShare Corp.
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                       &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                1DPH



                                         $ Check one:
7.    Describe debtor’s business
                                          +HDOWK&DUH%XVLQHVV DVGHILQHGLQ86& $
                                          6LQJOH$VVHW5HDO(VWDWH DVGHILQHGLQ86& %
                                          5DLOURDG DVGHILQHGLQ86& 
                                          6WRFNEURNHU DVGHILQHGLQ86& $
                                          &RPPRGLW\%URNHU DVGHILQHGLQ86& 
                                          &OHDULQJ%DQN DVGHILQHGLQ86& 
                                          1RQHRIWKHDERYH

                                         % Check all that apply:

                                          7D[H[HPSWHQWLW\ DVGHVFULEHGLQ86&
                                          ,QYHVWPHQWFRPSDQ\LQFOXGLQJKHGJHIXQGRUSRROHGLQYHVWPHQWYHKLFOH DVGHILQHGLQ86&
                                             D
                                          ,QYHVWPHQWDGYLVRU DVGHILQHGLQ86&E D         


                                         & 1$,&6 1RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHP GLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU6HH
                                             KWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                             2 1       1    1
                                            BBBBBBBBBBBB

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      &KDSWHU
                                          &KDSWHU
                                          &KDSWHUCheck all that apply
                                                         'HEWRU¶VDJJUHJDWHQRQFRQWLQJHQWOLTXLGDWHGGHEWV H[FOXGLQJGHEWVRZHGWR
                                                             LQVLGHUVRUDIILOLDWHV DUHOHVVWKDQ DPRXQWVXEMHFWWRDGMXVWPHQWRQ
                                                             DQGHYHU\\HDUVDIWHUWKDW 
                                                         
                                                          7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86& ' ,IWKH
                                                             GHEWRULVDVPDOOEXVLQHVVGHEWRUDWWDFKWKHPRVWUHFHQWEDODQFHVKHHWVWDWHPHQW
                                                             RIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDOORIWKHVH
                                                             GRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&  % 

                                                            $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ

                                                            $FFHSWDQFHVRIWKHSODQZHUHVROLFLWHGSUHSHWLWLRQIURPRQHRUPRUHFODVVHVRI
                                                             FUHGLWRUVLQDFFRUGDQFHZLWK86& E 

                                                            7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWV IRUH[DPSOH.DQG4 ZLWKWKH
                                                             6HFXULWLHVDQG([FKDQJH&RPPLVVLRQDFFRUGLQJWRRU G RIWKH6HFXULWLHV
                                                             ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

                                                            7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOH
                                                             E
                                          &KDSWHU

9.    Were prior bankruptcy cases         1R
      filed by or against the debtor
      within the last 8 years?            <HV    'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                              00''<<<<
      ,IPRUHWKDQFDVHVDWWDFKD
      VHSDUDWHOLVW                               'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                              00''<<<<

10.   Are any bankruptcy cases            1R
      pending or being filed by a                          CFW Resources LLC                                              Subsidiary
      business partner or an              <HV 'HEWRU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 5HODWLRQVKLS BBBBBBBBBBBBBBBBBBBBBBBBB
      affiliate of the debtor?                             Colorado
                                                   'LVWULFW BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB :KHQ
                                                                                                                             09/04/2019
                                                                                                                             BBBBBBBBBBBBBBBBBB
      /LVWDOOFDVHV,IPRUHWKDQ                                                                                        00  '' <<<<
      DWWDFKDVHSDUDWHOLVW                      &DVHQXPEHULINQRZQ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP                         9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                               SDJH2
           Case:19-17633-KHT Doc#:1 Filed:09/04/19                               Entered:09/04/19 00:13:46 Page3 of 7

'HEWRU        PetroShare Corp.
              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                      &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              1DPH




11.   Why is the case filed in this    Check all that apply:
      district?
                                        'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\V
                                          LPPHGLDWHO\SUHFHGLQJWKHGDWHRIWKLVSHWLWLRQRUIRUDORQJHUSDUWRIVXFKGD\VWKDQLQDQ\RWKHU
                                          GLVWULFW

                                        $EDQNUXSWF\FDVHFRQFHUQLQJGHEWRU¶VDIILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW

12.   Does the debtor own or have       1R
      possession of any real            <HV$QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
      property or personal property
      that needs immediate                      Why does the property need immediate attention? Check all that appO\ 
      attention?
                                                   ,WSRVHVRULVDOOHJHGWRSRVHDWKUHDWRILPPLQHQWDQGLGHQWLILDEOHKD]DUGWRSXEOLFKHDOWKRUVDIHW\
                                                    :KDWLVWKHKD]DUG"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                   ,WQHHGVWREHSK\VLFDOO\VHFXUHGRUSURWHFWHGIURPWKHZHDWKHU

                                                   ,WLQFOXGHVSHULVKDEOHJRRGVRUDVVHWVWKDWFRXOGTXLFNO\GHWHULRUDWHRUORVHYDOXHZLWKRXW
                                                    DWWHQWLRQ IRUH[DPSOHOLYHVWRFNVHDVRQDOJRRGVPHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHG
                                                    DVVHWVRURWKHURSWLRQV 

                                                   2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



                                                Where is the property?BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           1XPEHU        6WUHHW

                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB        BBBBBBB    BBBBBBBBBBBBBBBB
                                                                           &LW\                                          6WDWH      =,3&RGH 


                                                Is the property insured?
                                                   1R
                                                   <HV,QVXUDQFHDJHQF\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                         &RQWDFWQDPH     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                         3KRQH            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
                                        $IWHUDQ\DGPLQLVWUDWLYHH[SHQVHVDUHSDLGQRIXQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV

                                                                                                  
14.   Estimated number of                                                                       
      creditors
                                                                                             0RUHWKDQ
                                        

                                                               PLOOLRQ                  ELOOLRQ
15.   Estimated assets                                   PLOOLRQ                 ELOOLRQ
                                                        PLOOLRQ                ELOOLRQ
                                        PLOOLRQ              PLOOLRQ               0RUHWKDQELOOLRQ



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           Case:19-17633-KHT Doc#:1 Filed:09/04/19                                      Entered:09/04/19 00:13:46 Page4 of 7

'HEWRU         PetroShare Corp.
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                           &DVHQXPEHU if known BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               1DPH



                                                                   PLOOLRQ                      ELOOLRQ
16.   Estimated liabilities                                  PLOOLRQ                     ELOOLRQ
                                                            PLOOLRQ                    ELOOLRQ
                                          PLOOLRQ                PLOOLRQ                   0RUHWKDQELOOLRQ


             Request for Relief, Declaration, and Signatures


WARNING %DQNUXSWF\IUDXGLVDVHULRXVFULPH0DNLQJDIDOVHVWDWHPHQWLQFRQQHFWLRQZLWKDEDQNUXSWF\FDVHFDQUHVXOWLQILQHVXSWR
             RULPSULVRQPHQWIRUXSWR\HDUVRUERWK86&DQG


17.   Declaration and signature of          7KHGHEWRUUHTXHVWVUHOLHILQDFFRUGDQFHZLWKWKHFKDSWHURIWLWOH8QLWHG6WDWHV&RGHVSHFLILHGLQWKLV
      authorized representative of
                                             SHWLWLRQ
      debtor
                                            ,KDYHEHHQDXWKRUL]HGWRILOHWKLVSHWLWLRQRQEHKDOIRIWKHGHEWRU

                                            ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLVSHWLWLRQDQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXHDQG
                                             FRUUHFW


                                         ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW

                                                            09/ 04/ 2019
                                             ([HFXWHGRQ BBBBBBBBBBBBBBBBB
                                                           00 ''<<<<


                                         8    /s/ Frederick J. Witsell
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                Frederick J. Witsell
                                                                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             6LJQDWXUHRIDXWKRUL]HGUHSUHVHQWDWLYHRIGHEWRU           3ULQWHGQDPH

                                                    President
                                             7LWOHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




18.   Signature of attorney
                                         8     /s/ Trey A. Monsour
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                'DWH       09/ 04/2019
                                                                                                                     BBBBBBBBBBBBBBBBB
                                             6LJQDWXUHRIDWWRUQH\IRUGHEWRU                                       00     ''<<<<



                                              Trey A. Monsour
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             3ULQWHGQDPH
                                              Polsinelli PC
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             )LUPQDPH
                                             1000        Louisiana Street, Suite 6400
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             1XPEHU     6WUHHW
                                              Houston
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB  TX
                                                                                                   BBBBBBBBBBBB  77002
                                                                                                                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             &LW\                                                 6WDWH        =,3&RGH

                                              (713) 374-1643
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                              tmonsour@polsinelli.com
                                                                                                              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             &RQWDFWSKRQH                                                  (PDLODGGUHVV



                                              14277200                                               Texas
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             %DUQXPEHU                                            6WDWH




2IILFLDO)RUP                         9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                   SDJH4
        Case:19-17633-KHT Doc#:1 Filed:09/04/19                                  Entered:09/04/19 00:13:46 Page5 of 7
Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit A shall be completed and attached to the petition.]

                                      UNITED STATES BANKRUPTCY COURT
                                               District of Colorado

  In re: PetroShare Corp.,                                                   Case No.
                                            Debtor(s)                        Chapter 11


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11
             1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is              001-37943
        .
             2. The following financial data is the latest available information and refers to the debtor=s condition on
          06-30-2019
        .
              a. Total assets                                                            $ 36,927,856.00

              b. Total debts (including debts listed in 2.c., below)                     $ 45,100,988.00
              c. Debt securities held by more than 500 holders
                                                                                                                          Approximate
                                                                                                                          number of
                                                                                                                          holders:

              secured        ☐     unsecured     ☐     subordinated          ☐    $
              secured        ☐     unsecured     ☐     subordinated          ☐    $
              secured        ☐     unsecured     ☐     subordinated          ☐    $
              secured        ☐     unsecured     ☐     subordinated          ☐    $
              secured        ☐     unsecured     ☐     subordinated          ☐    $


              d. Number of shares of preferred stock                                                                       None
              e. Number of shares of common stock                                                                          28,037,808

              Comments, if any: Asset and Liability information provided is based on SEC Form 10Q for the quarter
              ended June 30, 2019 (unaudited). Common Stock information provided is as of the Petition Date.


              3. Brief description of debtor=s business: Debtor investigates, acquires and develops crude oil and
              natural gas properties in the Rocky Mountain or mid-continent portion of the United States, specifically
              focused in the Denver-Julesburg Basin in northeast Colorado.


            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
            Providence Energy Operators, LLC is the beneficial owner of approximately 11.6% of outstanding
            common stock. Cede&Co, Frederick J. Witsell, Steve Foley and Bill M. Conrad each hold 5% or
            more of the common stock of the Debtor.

        Official Form 201A            Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
Case:19-17633-KHT Doc#:1 Filed:09/04/19                Entered:09/04/19 00:13:46 Page6 of 7




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

                                              )
In re:                                        )      Chapter 11
                                              )
PETROSHARE CORP.,                             )      Case No. 19-_____(___)
EIN: XX-XXXXXXX                               )
                              Debtor.         )
                                              )


                        VERIFICATION OF CREDITOR MATRIX

        The above captioned debtor and debtor in possession hereby verifies that the attached list
of creditors is true and correct to the best of its knowledge.

Dated: September 4, 2019
                                             PETROSHARE CORP.

                                             /s/ Frederick J. Witsell
                                             By: Frederick J. Witsell, President

                                             Respectfully submitted,

                                             POLSINELLI PC

                                             /s/ Trey Monsour
                                             Trey Monsour (Texas Bar No. 14277200)
                                             1000 Louisiana Street, Suite 6400
                                             Houston, TX 77002
                                             Telephone: (713) 374-1643
                                             tmonsour@polsinelli.com

                                             -and-

                                             William Meyer (Colorado Bar No. 34012)
                                             1401 Lawrence Street, Suite 2300
                                             Denver, Colorado 80202
                                             Telephone: (303) 572-9300
                                             wmeyer@polsinelli.com

                                             -and-

                                             James E. Bird (Missouri Bar No. 28833)


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Case:19-17633-KHT Doc#:1 Filed:09/04/19   Entered:09/04/19 00:13:46 Page7 of 7




                                  900 W. 48th Place, Suite 900
                                  Kansas City, MO 64112
                                  Telephone: (816) 360-4343
                                  jbird@polsinelli.com

                                  -and-

                                  Caryn E. Wang (Georgia Bar No. 542093)
                                  1201 West Peachtree Street NW, Suite 1100
                                  Atlanta, Georgia 30309
                                  Telephone: (4040) 253-6016
                                  cewang@polsinelli.com

                                  Proposed Counsel to the Debtors and
                                  Debtors in Possession




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